                  COURT MINUTES OF SENTENCING HEARING


UNITED STATES of AMERICA,

v.                                                                    CASE NO. 18-CR-14-JPS

TINA D. JENKINS.



                           HON. J. P. STADTMUELLER PRESIDING
DATE: June 28, 2018                                            TIME SCHEDULED: 9:30 a.m.

COURT DEPUTY/CLERK: Christopher Bader                          TIME CALLED: 9:34 a.m.

COURT REPORTER: Richard Erlich                                 TIME FINISHED: 10:05 a.m.

GOVERNMENT BY: Carol Kraft

DEFENDANT BY: Anderson Gansner

PROBATION BY: Daniel Dragolovich

Notes:

9:34     Appearances; Court puts background of case on record, including Defendant’s having pled
         guilty to Count One of the Indictment; Court notes it has reviewed presentence report
9:36     Parties have reviewed presentence report and have no objections to the facts as stated therein;
         Court therefore adopts the facts as stated in the presentence report
9:37     Court notes applicable Guidelines:
                Total Offense Level:               6
                Criminal History Category:         I
                0–6 months’ imprisonment
                1–3 years’ supervised release
                1–5 years’ probation
                $1,000–$9,500 fine
                $1,200 restitution
                $100 special assessment
9:38     Defendant accepts the Guideline calculation provided by the Probation Office; government
         raises objection that there should be a two-level enhancement since there were more than 10
         victims; Court and government hold colloquy; Court declines to rule without formal objection
         protocol being followed; Court will adopt Probation Office’s Guideline calculation for purposes
         of considering Defendant’s sentence

                                           Page 1 of 4
                 Case 2:18-cr-00014-JPS Filed 06/28/18 Page 1 of 4 Document 21
9:46    Defendant’s attorney makes a statement on her behalf; requests sentence of two years of
        probation
9:49    Defendant makes a statement on her behalf
9:52    Government makes a statement; joins in defense request for sentence of two years of probation
9:54    Court notes that it previously circulated proposed conditions of probation; parties have
        reviewed them and have no objections thereto
9:56    Court discusses statements of the parties, facts of the case, and facts as presented in presentence
        report
10:01   Court imposes the following formal sentence:
               2 years of probation as to Count One
               Fine is waived
               $1,200 restitution
               $100 special assessment
10:04   Court advises Defendant of her right of appeal
10:05   Parties have nothing further to address
10:05   Court stands in recess




                                           Page 2 of 4
                 Case 2:18-cr-00014-JPS Filed 06/28/18 Page 2 of 4 Document 21
                                        FORMAL SENTENCE

          Custody of Bureau of Prisons                                  Probation
                     None                                     Two (2) years as to Count One

                                                 Fine
Terms: None
      Fine waived due to Defendant’s inability to pay
      Interest on fine is waived
      Defendant to participate in FBP Inmates’ Financial Responsibility Program
      Payments to apply to special assessment, then fine or restitution (if applicable)
      Court imposes costs of incarceration, community confinement, and supervision

                                             Restitution
Terms: $1,200.00
Payee(s): Breast Cancer Research & Support Fund; National Police & Trooper Association
Special Terms of Payment: Interest is waived

                                     Conditions of Supervised Release
      No other crimes                                      Notify of residence or employment change
      No firearms                                          Permit probation visits and confiscation
      No illegally possess controlled substances           Notify probation of arrest
      Report immediately to probation                      No informer agreement without approval
      Drug testing                                         Financial disclosures
      Shall not knowingly leave district                   No new credit charges
      Follow probation officer instructions                No transfer over $500 without approval
      Best efforts to secure full-time employment          Reside at approved residence
      No association with criminals                        Pay restitution at $25/month

                                         Special Assessment
Terms: $100.00
      To be paid immediately to the Clerk of the Court, Room 362
      To be paid prior to the expiration of this sentence
      Other:

                                              Forfeiture
Terms:




                                         Page 3 of 4
               Case 2:18-cr-00014-JPS Filed 06/28/18 Page 3 of 4 Document 21
                                           Custody Status
      Defendant remanded to custody of U.S. Marshal
      Execution of sentence stayed until ____
      Defendant shall voluntarily surrender to institution on or after ____
      Defendant’s bond continued until he/she reports
      Defendant advised of right of appeal
      Recommendations for BOP:

                                              Other
      Upon motion of the government, Count X be and the same is/are hereby DISMISSED
      Court orders that drug testing requirements be and the same are hereby WAIVED

                                    STATEMENT OF REASONS

      The Court adopts the factual findings and Guideline application in the presentence report
                                                or
      The Court adopts the factual findings and Guideline application in the presentence report
      except as noted at sentencing

Guideline Range Determined by the Court:

       Total Offense Level:               6
       Criminal History Category:         I
       Imprisonment Range:                0–6 months
       Supervised Release Range:          1–3 years
       Probation Range:                   1–5 years
       Fine Range:                        $1,000.00–$9,500.00
       Restitution:                       $1,200.00
       Special Assessment:                $100.00

            Fine is waived or is below the Guideline range because of Defendant’s inability to pay
            Full restitution is not ordered for the following reasons:

      The sentence is within the Guideline range, that range does not exceed 24 months, and the
      Court finds no reason to depart from the sentence called for by application of the Guidelines
                                                 or
      The sentence is within the Guideline range, that range exceeds 24 months, and the sentence is
      imposed for the following reasons:
                                                 or
      The sentence departs from the Guideline range for the reasons set forth at sentencing


                                         Page 4 of 4
               Case 2:18-cr-00014-JPS Filed 06/28/18 Page 4 of 4 Document 21
